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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF VIRGINIA
                              NORFOLK DIVISION

  CENTRIPETAL NETWORKS, LLC,            )
                                        )
                    Plaintiff,          )
                                        )   Case No.: 2:18-cv-00094-EWH-LRL
        v.                              )
                                        )   PUBLIC VERSION - REDACTED
  CISCO SYSTEMS, INC.,                  )
                                        )
                    Defendant.
                                        )
                                        )

   MEMORANDUM IN SUPPORT OF PLAINTIFF’S MOTION FOR ADDITIONAL AND
      AMENDED FINDINGS AND AMENDED JUDGMENT UNDER RULE 52(b)
      OR, IN THE ALTERNATIVE, FOR A NEW TRIAL UNDER RULE 59(a)(2)
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                                           INTRODUCTION

           Plaintiff Centripetal Networks, LLC (“Centripetal”) recognizes that this case presented

  the Court with an unusual task. A district judge could spend a half-century on the bench and

  never find herself needing to pick up where another district judge left off—let alone needing to

  treat some of the initial judge’s findings and conclusions as binding while disregarding others

  altogether pursuant to the mandate of a court of appeals. And even putting those procedural

  complications of Rule 63 aside (see Fed. R. Civ. P. 63), a district judge could spend decades

  without confronting a dispute as technologically complex as this one. The combination of the

  two—a highly technical patent lawsuit in which years of proceedings and thousands of pages of

  evidence and briefing were compiled and submitted before a different judge—made for a perfect

  storm. The Court sailed through many if not most of the issues this case presents expertly. But

  not all of them. The Court’s ultimate conclusion that Defendant Cisco Systems, Inc. (“Cisco”)

  did not infringe U.S. Patent Nos. 9,686,193 (“the ’193 Patent”), 9,203,806 (“the ’806 Patent”),

  and 9,560,176 (“the ’176 Patent”) rests on clear errors of fact and law that, if corrected, would

  compel a contrary conclusion. Centripetal thus respectfully moves to correct these errors and

  enter an amended judgment finding that Cisco infringes all three patents. See Fed. R. Civ. P.

  52(b).

           In the alternative, Centripetal respectfully requests that the Court reopen the judgment

  and receive additional testimony and argumentation on specific claim constructions and factual

  issues. See Fed. R. Civ. P. 59(a)(2). That may not be an ordinary remedy, but this was not an

  ordinary case. As a result of the Federal Circuit’s limited vacatur and directive to employ Rule

  63, the Court was left with a record spanning 3,500 pages, 26 witnesses, and more than 300

  exhibits, all compiled before another judge. And although Centripetal determined on remand




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  that no supplementation was necessary, it did so on the understanding that the February 2020

  claim construction order was not subject to vacatur. That understanding was driven not only by

  the Federal Circuit’s opinion, which explicitly did not disturb any of the rulings made pre-trial

  (or even during trial), but also by the state of the case law: never before had a Rule 63 judge

  engaged in further claim construction that altered the settled understanding of the constructions

  reached by the initial presiding judge. Had Centripetal known that the Court intended to do so, it

  would not have certified that the case could proceed on remand without further record

  supplementation. Because the Court’s decision depends on modifications to the scope of the

  asserted claims, i.e., the plain and ordinary meaning, or new constructions that are either contrary

  to the specification or improperly limited to an embodiment in the specification, Centripetal

  respectfully submits that if the Court does not alter and amend the judgment under Rule 52 and

  conclude that Cisco’s accused products are indeed infringing, the Court at the very least should

  reopen the judgment and allow the parties under Rule 59 to present additional evidence and

  briefing rebutting the new constructions underlying the non-infringement judgment.

                                 PROCEDURAL BACKGROUND

         The Court is obviously familiar with the case, so we provide only a brief overview. After

  years of litigation culminating in a 22-day bench trial, the late Judge Henry Coke Morgan issued

  a 167-page opinion concluding that Cisco willfully infringed the asserted claims of

  the ’193, ’806, and ’176 Patents.1 The Federal Circuit vacated that opinion without addressing or

  even hearing argument on the merits, holding that Judge Morgan needed to recuse once he

  learned on August 11, 2020, that his wife owned a small amount of Cisco stock. Dkt.646.




  1
   Judge Morgan also found that Cisco willfully infringed Claims 24 and 25 of U.S. Patent No.
  9,917,856; that patent is not a part of the present proceedings.


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  Because the stock-ownership issue was the only basis for its decision, the Federal Circuit

  remanded with instructions that rulings made before August 11, 2020—which includes Judge

  Morgan’s claim construction order and all rulings he made during trial—were to remain intact.

  Id. at 26.

          In light of the Federal Circuit’s instructions, and relying upon the existing claim

  construction and trial record, Centripetal determined that no further supplementation of the

  record was necessary. Dkt.656. The Court later certified familiarity with the record under Rule

  63 (Dkt.742), thus “determining that the case may be completed without prejudice to the parties”

  using the record compiled and rulings made by Judge Morgan. See Fed. R. Civ. P. 63.

          At the Rule 63 hearing—which came eight months after Centripetal determined that no

  further record supplementation was necessary—the Court suggested for the first time that it

  might further construe the asserted patent claims beyond what had been settled in the pre-

  remand, non-vacated proceedings and depart from the plain and ordinary meaning of the claim

  terms. At that time, counsel for Centripetal explained the prejudicial impact of “changing the

  [claim construction] rules after the game is over.” R.63 Tr. 432:22-439:15. 2 Ultimately, the

  Court issued new constructions that either were contrary to the plain and ordinary meaning and

  fundamental principles of claim construction, to find non-infringement in its Order (Dkt.780), as

  explained below.

                                             ARGUMENT

          Under Federal Rule of Civil Procedure 52(b), the Court “may amend its findings—or

  make additional findings—and may amend the judgment accordingly.” The primary purpose of




  2
    Citations to the Rule 63 hearing transcripts are referred to as “R.63 Tr.” Citations to the 2020
  trial transcripts are referred to as “Tr.” Citations to the Court’s Order (Dkt.780) are “Op.”


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  a Rule 52(b) motion is to correct manifest errors of law or fact. Morrow Corp. v. Harleysville

  Mut. Ins. Co., 110 F. Supp. 2d 441, 445 n.4 (E.D. Va. 2000). Rule 59(a)(2) similarly empowers

  the Court, following a bench trial, to “open the judgment . . . take additional testimony, amend

  findings of fact and conclusions of law or make new ones, and direct the entry of a new

  judgment.” A party may move for amended or additional findings even if it would “in effect

  reverse the judgment.” Golden Blount, Inc. v. Robert H. Peterson Co., 438 F.3d 1354, 1358

  (Fed. Cir. 2006) (citation omitted). “If the trial court has entered an erroneous judgment, it

  should correct it.” Id. (citation omitted).

  I.     THE ’193 PATENT

         The ’193 Patent discloses preventing cyberattacks in which a bad actor gains access to

  one or more computers within a network and then sends (i.e., “exfiltrates”) confidential data

  from the computer(s) in the network to a destination outside the network. See R.63 Tr. 107:5-16.

  Claims 18 and 19 recite applying “packet-filtering rules configured to prevent a particular type of

  data transfer from [a] first network to a second network.” ’193 Patent, 14:11-13, 46-49. If the

  transfer meets the criteria set forth in the rules—e.g., if the packets are tagged and sent to a

  network associated with exfiltration risks—then the packets will be “dropped”; otherwise, they

  are conveyed to the destination network. See id. at 14:23-36, 14:56-15:2.

         Cisco’s Switches and Routers filter packets using a series of rules known as Access

  Control Lists (“ACLs”). Tr. 2550:5-7. They first apply ACLs that check the packet’s

  destination, including whether the packets are being sent outside the network. See PTX-1288 at

  012; PTX-1390 at 086. They then apply a Secure Group Access Control List (“SGACL”) rule,

  which checks if the packet has been assigned a Security or Scalable Group Tag (“SGT”) and, if

  so, forwards or drops the packet based on whether or not packets carrying that tag are allowed to




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   be sent to the contemplated destination network. See id.; Tr. 494:10-495:14. Cisco’s Switches

   and Routers can isolate or “quarantine” computers in a network identified as a potential security

   risk, allowing them to communicate with certain network destinations but not others. See Tr.

   524:14-526:7.

          This Court’s conclusion that the Switches and Routers do not infringe Claims 18 and 19

   of the ’193 Patent rests on a legally erroneous construction of key terms (which departed from

   the plain and ordinary meaning) and a misunderstanding of how the accused products function.

          A.       The Court Adopted a Manifestly Erroneous Construction of “Particular
                   Type of Data Transfer From [a] First Network to a Second Network”

                   1.     The Switches and Routers Infringe Claims 18 and 19 of the ’193
                          Patent if Properly Construed

          Centripetal respectfully submits that the Court’s non-infringement decision rests on an

   erroneous construction of the asserted claims. Claims 18 and 19 of the ’193 Patent disclose

   filtering a subset of data transfers between two different networks. ’193 Patent, 14:11-13, 46-49.

   The Court construed the claims to “require … filtration of a subset of packets sent between

   computers in two different networks.” Op.24 (emphasis added). Based on that construction, the

   Court required a showing that the accused products can drop “a subset or portion of the

   packets—either from a quarantined computer to a restricted destination or from a quarantined

   computer to a permitted destination” while forwarding “other packets to that same destination.”

   Op.23 (emphasis added). But that is not what Claims 18 and 19 recite; nor would it make any

   sense for that to be what they describe, as switches and routers, typically cannot identify the

   specific computer where a given packet originated at all because the packet’s origin information

   may be altered as it is transmitted (for example, if the packet travels through a proxy server).

   See, e.g., R.63 Tr. 203:22-204:1. Instead, the claims’ plain language describes filtration of a

   subset of data transfers from one network made up of many computers to a second network.


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   See ’193 Patent, 14:11-13, 46-49. The distinction between those constructions—a transfer from

   Computer A to Computer B, versus a transfer from a network of computers on Network 1 to a

   network of computers on Network 2—may seem ephemeral, but it makes all the difference in the

   real world and in terms of how a person of ordinary skill in the art (“POSITA”) would

   understand the claims and technology at issue.

          “The words of a claim are generally given their ordinary and customary meaning as

   understood by a person of ordinary skill in the art when read in the context of the specification

   and prosecution history.” Thorner v. Sony Comput. Ent. Am. LLC, 669 F.3d 1362, 1365 (Fed.

   Cir. 2012). Here, because neither party proposed a construction, the parties agreed that the terms

   “particular type of data transfer” and “network” should be given their ordinary meanings. See

   Dkt.202. Right off the bat, then, the Court’s claim construction is problematic because

   “computer” and “network” do not mean the same thing.

          As a general matter, even laypeople understand that a computer is a single device that

   runs on or transmits data through a network, which is a group of interconnected devices. But the

   computer/network distinction is particularly important for the claims and technology at issue

   here. Experts from both sides agreed that a POSITA would understand that the type of

   “network” described in the claims generally comprises multiple separate computers. See, e.g.,

   R.63 Tr. 20:10-23 (Dr. Medvidovic testifying that, in a real network, “there would be thousands

   and thousands of each one of these devices, so lots of laptops, lots of printers, lots of servers”);

   R.63 Tr. 84:2-9 (Dr. Almeroth agrees); see also Op.11 (showing multiple devices within a

   network). It should therefore come as no surprise that both parties’ experts agreed that the data

   transfers described in the claims refer to transfers of data packets between two networks, not

   transfers between just two computers. See, e.g., Tr. 2400:8-10 (Cisco’s expert stating that a




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   POSITA would understand that ’193 Patent relates to “block[ing] some communication between

   the two networks but allow[ing] others communication to flow”) (emphasis added); Tr. 490:17-

   491:2 (similar testimony from Centripetal’s expert).

          In collapsing that distinction, the Court seemed to assume that each network described in

   the claims contains just a single computer. Indeed, the Court ruled that embracing the claims’

   ordinary meaning, as Centripetal urged, would indicate that “the ‘particular type of data transfer’

   would encompass all data transfers between the first network and the second network.” Op.27.

   But the only way the “particular type of data transfer” would encompass all transfers from

   Network 1 to Network 2 would be if each network consisted of just one computer. The asserted

   claims of the ’193 Patent, on their face, do not contain any one-computer-per-network

   requirement, and that is not how a POSITA would understand them.

          In substituting “computer” for “network,” the Court effectively read “from the first

   network to a second network” out of the claims—thus impermissibly rewriting them to recite a

   particular type of data transfer from one computer to a second computer. The Court’s new

   construction improperly alters the plain and ordinary meaning of the claim element. That was

   manifest error and should be altered or amended pursuant to Rule 52.

          Furthermore, the Court’s new interpretation contravenes the settled rule that claims must

   be construed consistent with the patent specification. See Merck & Co. v. Teva Pharms. USA,

   Inc., 347 F.3d 1367, 1371 (Fed. Cir. 2003). The ’193 Patent specification describes data

   transfers between “network[s]” (of multiple computers each); it nowhere limits the claims to

   communications between two specific computers. For example, the specification describes how,

   in some embodiments, “[t]he filter may observe packets traversing the network link between the

   secured network and the unsecured network.” ’193 Patent, 2:6-11; see also id. at 6:41-46




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   (describing enforcing network policies to “restrict network communications between networks

   104 and 106” pictured in Fig. 1). The Court’s new construction is inconsistent with the claims’

   literal words, how experts would understand them, and the specification.

          Adopting the correct construction of “particular type of data transfer from the first

   network to a second network” leads to a straightforward finding of infringement, as Cisco’s

   Switches and Routers plainly block a subset of data transfers between two networks. There is no

   dispute that Cisco’s Switches and Routers can block certain computers in the first network—

   namely those that have been assigned a “quarantine” SGT tag—from transferring packets to a

   second network. See, e.g., Tr. 468:8-17 (a computer being used may reach some destinations,

   but not others, within an internal network); Tr. 489:22-490:16 (with exfiltration rules, a

   suspicious user may be restricted from accessing certain parts of an internal network but can

   otherwise continue to work). Further, Cisco does not dispute that its Switches and Routers can

   allow other computers in the first network (i.e., those without the relevant SGT tag) to transfer

   packets to the second network. See, e.g., Tr. 494:12-495:3 (“So if you’ve found a user that’s

   suspicious you might say, okay, I’m going to apply this [SGT], in particular a quarantine tag.”),

   468:8-17, 489:22-490:16; PTX-1326 at 011 (change users’ access privileges); PTX-563 at 414-

   415 (supplier’s computer cannot access shared server in a second network); see also PTX-1280

   at 0021 (“limit the endpoint’s network access”). The Switches and Routers thus block a

   particular subset of data transfers from the first network to the second network, namely an

   exfiltration attempt from a quarantined computer identified by the presence of an SGT tag on the

   packet, as claimed in the ’193 Patent. The Court should therefore enter an amended judgment of

   infringement of the ’193 Patent.




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                  2.     At the Very Least, the Court Should Reopen the Judgment and Hold
                         Additional Proceedings in Light of the New Claim Construction

          If the Court nonetheless adheres to its new construction that the ’193 Patent requires

   “filtration of a subset of packets sent between computers in two different networks,” Op.24

   (emphasis added), the Court at the very least should vacate and reopen the judgment to allow

   Centripetal the opportunity under Rule 59 to introduce evidence that Cisco’s Switches and

   Routers infringe under the new construction the Court adopted, which was not advanced during

   trial. Claim construction guides assessments of infringement and validity, and the parties should

   be afforded the opportunity to address the constructions that the Court will be applying. Here,

   when Centripetal determined that no further record supplementation was necessary, it did not

   have notice of the Court’s narrowed interpretation of the claims, which departed from the plain

   and ordinary meaning and thus prejudiced Centripetal. R.63 Tr. 432:22-439:15.

          The Federal Circuit has been clear that rolling claim construction requires giving the

   parties sufficient notice and opportunity to present evidence and argument on the issue.

   Compare, e.g., Wi-LAN, Inc. v. Apple, Inc., 811 F.3d 455, 464 (Fed. Cir. 2016) (district court

   erred in adopting new claim construction “at the JMOL stage”), with, e.g., Pressure Prods. Med.

   Supplies, Inc. v. Greatbatch Ltd., 599 F.3d 1308, 1315-16 (Fed. Cir. 2010) (mid-trial claim

   construction change not prejudicial because district court provided “an opportunity to consider

   the new construction and adjust its arguments to account for the change”) (emphasis added).

   Other courts have found similarly, awarding new trials under Rule 59 where a change in the

   court’s theory caught the prejudiced party off-guard. See, e.g., Twigg v. Norton Co., 894 F.2d

   672, 675-76 (4th Cir. 1990) (new trial warranted where party lacked “opportunity to

   satisfactorily prepare to rebut” new theory of liability); Becton Dickinson & Co. v. Tyco

   Healthcare Grp. LP, No. Civ.A. 02-1694 GMS, 2006 WL 890995, at *12 & n.7 (D. Del. Mar.



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   31, 2006) (granting new trial where defendant “was unable to present expert testimony or

   properly respond otherwise” to new infringement theory).

          That is exactly what happened here. Centripetal was not able to put on evidence at the

   Rule 63 proceeding, or even identify the need for new evidence until the Order came down.

   Under the constraints of the Rule 63 procedures, Centripetal was unfairly prejudiced and had no

   opportunity to address the Court’s narrowed construction with evidence and witnesses.

   Centripetal properly raised at the Rule 63 Hearing that it would want to present new evidence

   through additional arguments and recalling witnesses if the Court adopted additional claim

   constructions. R.63 Tr. 437:6-24.

          This was not harmless error. Had Centripetal known from the get-go on remand that the

   Court intended to narrow the claims, Centripetal would have insisted on introducing evidence

   that the Switches and Routers meet the construction of a “particular type of data transfer” as a

   subset of communications between computers in different networks. And Centripetal could

   easily have done so (and could do so if the Court were to reopen the judgment now under Rule

   59), because the rules that the Switches and Routers employ may operate only on packets with a

   certain traffic type or payload information. For instance, Centripetal could show that the

   Switches and Routers use network segmentation, including microsegmentation, which limits

   traffic flows between specific computers across networks based on traffic types and application-

   layer information (which is in the payload of the packets). Declaration of Dr. Mitzenmacher

   (“Mitzenmacher Decl.”), filed herewith, ¶¶ 4-6; PTX-1356 at .0001 (Microsegmentation with

   SGT); Mitzenmacher Decl., Ex. 1 at 1-2 (“Segmentation works by controlling how traffic flows

   among the parts. You could choose to stop all traffic in one part from reaching another, or you

   can limit the flow by traffic type, source, destination, and many other options . . . .




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   Microsegmentation uses much more information in segmentation policies like application-layer

   information.”); see also R.63 Tr. 165:3-10 (Cisco website describes segmentation that can “limit

   the flow by traffic type, source, destination, and many other options”). Through network

   segmentation, the Switches and Routers provide security controls by limiting communications

   between two computers based on traffic type and application-layer information. Mitzenmacher

   Decl., ¶ 4.

           This is not the only such evidence Centripetal could introduce showing that the Switches

   and Routers infringe under the construction the Court adopted. Thus, to the extent the Court

   maintains its claim construction and as a result of the peculiar procedural history of this case and

   the unique Rule 63 posture, the appropriate remedy under Rule 59 would be to vacate the non-

   infringement judgment on the ’193 Patent and call for additional proceedings, whether in the

   form of additional discovery, additional testimony, and/or new briefing and argument.

           B.     The Court Misapprehended How Cisco’s Switches and Routers Work

           Separately, the Order rests on erroneous factual findings about the functionality of

   Cisco’s Switches and Routers. In the Order, the Court viewed Cisco’s filtering technology from

   the perspective of a quarantined computer—and, from that perspective, the Court’s description of

   the technology is understandable. But the Switches and Routers function in such a way that they

   analyze the traffic between networks that contain a multitude of computers and the identification

   of the particular computer from which packets are sent can change as the traffic moves through

   the network.

           The Court described the Switches and Routers as “devices [that] apply the quarantine

   SGACL rule and forward or drop the packet depending on whether it is destined for a restricted

   destination as specified by the ACL rules.” Op.22. That description elides the complex series of

   operations that these devices perform. Cisco’s Switches and Routers filter packets of data


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   traveling across networks of computers; when they receive a packet, they either “drop” the

   packet or forward it along toward a second or third network. See, e.g., Tr. 21:8-23, 40:9-41:17.

   SGACL rules, which can drive the drop/no-drop decision, do not turn on the packet’s destination

   alone; they also depend on the access privilege assigned to the packet, which is represented by

   the SGT value. That is important. Switches and Routers exist in a complicated network

   environment serving numerous endpoint computers—which means that they cannot readily

   determine the true source of a packet by examining the packet header (which may be altered

   during the packet’s journey). This, in turn, is why the Switches and Routers must process the

   packet through a series of ACL rules, which includes checking the destination (e.g., in the five-

   tuple of a packet), reviewing any SGT tag assigned to the packet (which indicates the role or the

   access privilege for that packet), and ultimately applying SGACLs. See, e.g., PTX-1390 at 0086

   (showing the application of various security ACL rules, determining access privileges with SGT

   value using GACL, and applying SGACL when the packet goes out); PTX-1280 at 021 (showing

   security group numbers and SGACL rules for that group).

          Notably, application of the SGACL is the final step in this process; it occurs after the

   Switches and Routers already performed the destination check on the five-tuple. PTX-1390 at

   0086. The point is that Cisco’s Switches and Routers do, in fact, filter packets based on the

   particular type of data transfer at issue by first checking the five-tuple, reviewing SGT tags, and

   only then applying SGACLs. See Tr. 468:8-17, 489:22-490:16, 535:21-24. Contra Op.23.

          Indeed, the Court’s finding that SGACLs are only destination-based cannot be correct. If

   it were correct, then the SGACL would be entirely redundant in the packet processing flow; after

   all, before the SGACL is applied, the Switches and Routers already considered destination

   information for other types of ACLs, such as a router ACL (“RACL”). PTX-1390 at 0086; PTX-




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   1276 at 216. As explained, the Switches and Routers cannot effectuate a quarantine by

   performing a simple source and destination check, because they have limited visibility into the

   true source of a packet—meaning that Cisco’s Switches and Routers do, in fact, filter packets

   based not only on the network destination, but also on the particular type of data transfer at issue.

   The Court should therefore amend its findings to conclude that the Switches and Routers satisfy

   the “particular type of data transfer” limitation of the ’193 Patent and enter an amended

   judgment of infringement. Alternatively, in light of the peculiar procedural posture and the fact

   that the Court’s findings were based in large part on a cold, paper record that was compiled in

   proceedings conducted by another judge, the Court should reopen the judgment under Rule

   59(a)(2) to conduct further factfinding on this highly technical issue.

   II.    THE ’806 PATENT

          The ’806 Patent describes systems by which network devices (e.g., switches, routers, and

   firewalls) change the rule sets they apply, which has become vital as cyberthreats have grown

   dramatically and rapidly evolved. Claims 9 and 17 of the ’806 Patent disclose a novel invention

   for quickly updating the rules by which network devices monitor and filter network traffic

   without any disruptions or outages. In “respons[e] to being signaled to process packets in

   accordance with [a] second [preprocessed] rule set,” a network device “cease[s] processing of

   one or more packets; cache[s] [those] packets; [and] reconfigure[s] to process packets in

   accordance with the second rule set.” ’806 Patent, 11:41-46, 12:52-57. To address the evolving

   cyberthreat landscape, the rules that devices apply must be updated frequently; however, “the

   time required for switching between [rules] presents obstacles for effective

   implementation.” ’806 Patent, 1:13-21; Tr. 339:3-340:1.

          In fact, Cisco faced this very problem. Cisco’s earlier products dropped every incoming




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   packet while implementing new and old rules at the same time. See Tr. 597:13-598:9, 681:15-

   682:8, 3034:21-3035:15 (Cisco’s old system caused packets to be dropped due to conflicts in the

   rules during a rule implementation); PTX-1195 at 3. In response to customer complaints, Cisco

   updated its product offerings to include the ’806 Patent’s technology. See Tr. 692:18-693:16;

   PTX-1196 at 6-7. Centripetal’s ’806 Patent solves the dropped-packets problem by ensuring that

   packets are only processed with one rule set at a time using new rule swapping technology that

   caches packets, instead of dropping them, while the actual rule swap occurs. See Tr. 572:19-

   573:7; ’806 Patent, 4:60-64, 11:40-53, 1:41-52 (preprocessed rule sets can optimize

   performance). Cisco’s accused products do the same.

          Specifically, Centripetal accuses the following of infringing Claims 9 and 17 of the ’806

   Patent: (1) Switches or Routers, combined with Cisco’s Digital Network Architecture (“DNA”),

   and (2) Cisco’s Adaptive Security Appliances with Firepower services and Cisco’s Firepower

   Appliances with Firepower Threat Defense (collectively, “Firewalls”), combined with Cisco’s

   Firepower Management Center (“FMC”). Combination #1 (Switches and Routers plus DNA)

   updates rules using FED 2.0 Hitless ACL (“Hitless ACL”); Combination #2 (Firewalls plus FMC)

   similarly uses the Transactional-Commit Model. PTX-1195 (referring to FED 2.0 Hitless ACL);

   PTX-1293 at 668-669 (describing the Transactional-Commit Model); Tr. 596:20-597:11, 680:1-

   682:8. DNA and FMC collect rules and preprocess rule sets, which they then send to the relevant

   accused network devices (Switches, Routers, and Firewalls). These accused network devices

   initially process packets using one rule set and then, when signaled, stop processing the packets

   with those rules; they then cache incoming packets and swap to a second rule set. Tr. 600:6-

   603:17, 680:1-681:10, 684:16-686:23. Upon receiving another signal indicating that the rule swap

   has been completed, the accused network devices begin processing the packets using the new rules.




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   Id. In other words, the accused network devices do exactly what Claims 9 and 17 of the ’806

   Patent describe.

          The Court’s analysis of the ’806 Patent contains three distinct errors.         The Court

   (1) misunderstood how Cisco’s accused products cause a network device to stop processing and

   cache packets during a rule swap, and thus, mistook Centripetal’s infringement case;

   (2) misconstrued the claims’ requirement to “cease processing” packets during a rule swap; and

   (3) improperly compared the accused products to ancillary benefits described in the patent

   specification, rather than the asserted claims themselves. Separately and together, these errors

   justify amending the judgment of non-infringement, or at least reopening discovery and holding

   further proceedings.

          A.      The Court Misapprehended Centripetal’s Infringement Theory

          The Court’s non-infringement finding for the ’806 Patent rests on erroneous factual

   findings about how the accused products work and the evidence in the record. In the Order, the

   Court did not address what Centripetal actually pointed to for infringement of the ’806 Patent.

   Centripetal asserted that the accused network devices stop processing packets with the old rule

   set and cache those packets while it completes the rule swap (which is what Claims 9 and 17 of

   the ’806 Patent describe). Yet the Court assessed how the accused network devices behave

   during normal packet processing (i.e., when no rule swap is happening). The Court observed

   that the accused network devices “cease processing packets” during an extremely brief “idle

   period” and “use a form of a queue or buffer to store packets,” all of which occurs during normal

   packet processing. Op.37, 40. The idle period, which are the two to four clock cycles between

   processing of each packet, exists in the normal processing of packets.

          When a device gets a signal for a rule swap, however, the rule swap will change the

   normal processing of packets and take advantage of the clock cycles during the “idle” period to


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   introduce the new rule swapping functionality. The rule swap process thus causes different

   actions to take place than what otherwise would have occurred during normal packet processing.

   Since there are no rules to be applied while rules are being swapped, there is no processing of

   any packets during this time. Tr. 616:15-617:18. That is undisputed: Cisco’s engineer, Mr.

   Jones, agreed that the Switches and Routers do not subject packets to any rules during a rule

   swap. See PTX-1915 (stating that no packets are “subject to rules” during a rule swap); see also

   Tr. 606:6-608:9 (Dr. Mitzenmacher confirming Mr. Jones’ testimony that Hitless ACL design is

   not to allow packets through during a rule swap); see also Tr. 841:8-22 (



                                                        The Firewalls also cannot process packets

   during rule swapping, because the memory is being used to change the rule sets. See Tr. 704:23-

   705:10 (“During that time you can’t be processing packets, right? Because you’re actually trying

   to move, swap things in and out of memory.”).

          That is why Centripetal has consistently alleged that the step in which the accused

   network devices verify the existence of Hitless ACL (or equivalent) functionality—shown as

   “Step 7” in PTX-1195—provides the requisite “signal[]” to perform a rule swap. 3 PTX-1195 at

   4. Centripetal supported this allegation with expert testimony, Cisco’s own documents, and

   source code showing that the signal in Step 7 triggers a special rule-swapping process that

   interrupts normal packet processing. See, e.g., Tr. 616:15-617:18 (“So the first signal, you have

   to say, okay, everything is ready to go into the hardware [i.e., the TCAM]. Now I wait and stop




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   and then implement the swap”); PTX-1195 at 4 (Step 7: “Verify if feature supports hitless[sic]

   ACL change”); see also Tr. 602:5-19, 615:17-24. In other words, in response to the initial

   signal, the accused network devices switch states from normal packet processing to a rule-

   swapping state during which they cache packets (to avoid dropping them), switch the rule sets,

   and signal that the swap is complete—just as the asserted claims describe. See PTX-1195 at 4;

   Tr. 616:15-620:16 (describing the steps), 631:25-632:9 (describing “success” as finishing the

   swap), 600:6-603:17 (describing the replacement of rules in TCAM); see also Tr. 680:11-682:8,

   697:8-698:2 (Dr. Mitzenmacher describing the signal for Firewalls to swap rule sets to cease

   processing packets and cache incoming packets), 701:16-707:1 (describing ceasing processing

   and caching for under Transactional-Commit Model).

          In response to the signal in Step 7, if the Hitless ACL technology is enabled, the

   processor will monitor the state of the packet analysis to ensure that the current packet has

   finished processing in order to avoid the old regime which would apply new rules instantly and

   cause packets to drop because of a conflict in the rules being applied. See Tr. 597:13-598:9,

   681:15-682:8, 3034:21-3035:15 (Cisco’s old system caused packets to be dropped due to

   conflicts in the rules during rule implementation); PTX-1195 at 3-4. Using Hitless ACL, once

   processing of that packet is complete, the processor will stop processing of all further packets

   and enter a state in which no rules are applied to any packet. This state of the rule swap process,

   where no rules are available in memory to be applied to any packets, meets the cease processing

   limitation. Notably, this state of the processor did not exist without Hitless ACL because the

   because rules were constantly applied to packets, even if they overlapped, and the packets were

   simply marked to be dropped rather than preserved in a cache.

          The Court identified in its Order the moment that the rules are swapped, where it states




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   that there is a switch of rules which “occurs during the time between the firewall’s processing of

   individual packets.” Op.36. This interruption of normal packet processing meets the “cease

   processing” of packets element.

          Centripetal showed further that the signal to switch rule sets causes the accused network

   devices to cache packets, just as the asserted claims describe.




                                                   Thus, in the accused network devices, processing

   pursuant to the old rule set ceases in response to a signal, and packets are then preserved in a

   cache (rather than dropped) while the new rule set are loaded. That is exactly what Claims 9 and

   17 of the ’806 Patent describe.

          By focusing on “idle” time during normal processing rather than on what occurs during

   the rule swap process, the Court mistook Centripetal’s infringement case. The Court erroneously

   concluded that the accused products are non-infringing and therefore committed a manifest error

   of law. That error is clear in the record, but to the extent the Court is uncertain in light of the

   foregoing, the proper remedy would be to reopen the judgment and, pursuant to Rule 59, provide




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   the parties additional opportunities to present evidence on this issue and/or present briefing and

   argument.

           B.      The Court Erred in Construing the Claims’ Requirement to “Cease
                   Processing” Packets During a Rule Swap

           In addition to misunderstanding Centripetal’s allegations, the Court appeared to

   misconstrue Claims 9 and 17 of the ’806 Patent in concluding, contrary to the intrinsic evidence,

   that “cease processing of one or more packets” does not mean stop processing with the old rule

   set. See Op.41-44; see also Accent Packaging, Inc. v. Leggett & Platt, Inc., 707 F.3d 1318, 1326

   (Fed. Cir. 2013) (“[A] claim interpretation that excludes a preferred embodiment from the scope

   of the claim is rarely, if ever, correct.”) (citation omitted).

           The specification explicitly states that “ceasing to process packets” occurs “when a

   current packet has been examined against the rules in policy 130’s rule set [i.e., first rule set]”

   and the processor stops to switch rule sets. ’806 Patent, 8:4-23; id. at 6:12-15 (describing

   swapping rule sets in between processing packets); id. at 7:25-32, 7:57-59 (describing processing

   a packet with the first rule set, waiting until completion, and processing the next packet with the

   second rule set). In other words, it identifies in plain terms that “ceasing to process packets” is

   synonymous with “stop processing packets with the old rule set.” Bringing the point home, there

   is no evidence in the record of any disclaimer by the patent applicant that would justify ignoring

   such a description of the invention in the specification. See Omega Eng’g, Inc. v. Raytek Corp.,

   334 F.3d 1314, 1323-28 (Fed. Cir. 2003) (terms should be given their full and ordinary meaning

   unless there is clear and unmistakable disavowal of claim scope).

           The Court’s construction also depends on improperly treating an embodiment in the

   specification (Figure 4) as a limitation on the claims. See SuperGuide Corp. v. DirecTV Enters.,

   Inc., 358 F.3d 870, 875 (Fed. Cir. 2004) (“The written description . . . is not a substitute for, nor



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   can it be used to rewrite, the chosen claim language.”). Contrary to the Court’s stated

   understanding, Figure 4 does not indicate that the claim requires “ceasing processing of packets

   altogether, not just with the old rule set.” Op.42-44. In fact, it makes clear that the opposite is

   true: at Step 404 (“cease processing packets”), “each of processors 300, 302, and 304 may cease

   processing packets in accordance with [the old] rule set.” ’806 Patent, 9:4-8 (emphasis added).

   Thus, Figure 4 undermines the Court’s construction and instead supports Centripetal’s reading

   that the claims only require ceasing processing with the old rule set.

          Again, Centripetal had no notice of the Court’s interpretation of this claim limitation,

   which contradicts the specification, and Centripetal thus lacked an opportunity to brief the Court

   and address the new construction with additional evidence during the Rule 63 proceeding. The

   Court should thus amend the judgment to find infringement, or at the very least reopen the

   judgment to permit additional discovery, new testimony, and/or new briefing and argument.

          C.      The Court Improperly Compared the Accused Products to the Patent
                  Specification, Rather Than to the Claims Themselves, Effectively Importing
                  a Limitation Into the Claims

          It is black-letter law that patent infringement “is determined by comparing an accused

   product” with the asserted patent claims, “not with a preferred embodiment described in the

   specification.” SRI Int’l v. Matsushita Elec. Corp. of Am., 775 F.2d 1107, 1121 (Fed. Cir. 1985).

   After all, “claims are infringed, not specifications.” Id. In analyzing the ’806 Patent, however,

   the Court committed legal error by comparing Cisco’s accused products to the specification. The

   specification states that “processing packets in accordance with an outdated rule set” may

   “exacerbate rather than mitigate the impetus for the rule set switch.” ’806 Patent, 1:25-31. And

   the Court found that Cisco’s accused products do not infringe the ’806 Patent because they

   continue to “process[] packets with an outdated rule set” while configuring a new rule set.

   Op.44. But that is not the right comparison. The only issue for infringement is whether the


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   accused products meet the claims; whether they meet the specification is irrelevant. See SRI

   Int’l, 775 F.2d at 1121-22 (comparing accused device against specification rather than claims

   was reversible legal error).

          In any event, the specification’s passing reference to “outdated rule sets” 4 during a rule

   implementation does not limit the scope of the invention and discusses the old regime in which

   old and new rules overlapped. The specification simply notes—in a single sentence in the two-

   paragraph “Background” section—that processing with an outdated rule set may be a negative in

   “certain circumstances.” ’806 Patent, 1:19-31. Moreover, the specification discusses

   “implementing a new rule set” while “continuing to processes packets” with “an outdated rule

   set,” which is the old regime that causes a conflict of rules and results in the dropping of packets.

   Id. Furthermore, when the Court cited Mr. Shankar’s testimony that Firewalls use old rules to

   process packets because it uses “outdated rule sets,” Op.44 (citing Tr. 2518:22-2519:7), the

   Court misinterpreted what he was referring to. This testimony describes what occurs during

   normal packet processing before any signal to swap rules has been sent. This period satisfies a

   different part of the asserted patent claim, namely, the processing of packets under the first rule

   set. It simply is not relevant to the portion of the claims that invokes a rule swap and processing

   under the second rule set. Mr. Shankar’s testimony is thus not evidence of non-infringement.

          In sum, the Court’s analysis of the ’806 Patent rests on several manifest errors of fact and




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     Cisco misdirected the Court by asserting that the ’806 Patent is only about not using an
   outdated ruleset on a handful of packets received during a rule swap. That is simply an
   additional benefit, but not the sole purpose. In fact, the “outdated rule sets” is a secondary
   problem and is described in the specification exactly that way: “Additionally, while
   implementing a new rule set, a network protection device may continue processing packets in
   accordance with an outdated rule set.” ’806 Patent, 1:19-31 (emphasis added). The very first
   problem described in the background is avoiding outages that would result in dropped packets.
   Id.


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   law that, if corrected, require an amended judgment of infringement. Alternatively, the Court

   should reopen the judgment under Rule 59 and take additional testimony on these issues.

   III.   THE ’176 PATENT

          The ’176 Patent analyzes and correlates logs corresponding to network traffic to identify

   and remediate unusual activity using network security rules. ’176 Patent, 1:36-50; Tr. 973:16-

   974:22. The claimed “correlation” system of the ’176 Patent “generate[s] . . . log entries

   corresponding to . . . packets received by” and “transmitted by the network device,” uses those

   logs to “correlate” the transmitted and received packets, and uses the results to “generate and

   “provision” appropriate network rules. ’176 Patent, 17:6-35, 18:63-19:23. These rules can block

   packets from an infected computer.

          Cisco’s Switches and Routers combined with Stealthwatch infringe Claims 11 and 21 of

   the ’176 Patent because of their ability to analyze network traffic to identify an infected

   computer. Cisco’s Switches and Routers collect data on the packets they see and send the data to

   Stealthwatch for analysis. Tr. 975:17-976:9, 984:19-24. Stealthwatch receives this data,

   correlates the data together to deduplicate the packet information, and identifies computers in the

   network that may be infected. R.63 Tr. 146:1-16 (Cisco’s expert confirming the collection of

   both ingress and egress NetFlow records.); Tr. 994:21-995:8; PTX-1065 at .0005; see also R.63

   Tr. 177:14-178:1; PTX-569 at 271. Stealthwatch can then prepare a policy update to prevent the

   computer from infecting other computers. Tr. 1002:11-1003:1. The Court erred by finding that

   these accused products neither correlate data related to received and transmitted packets nor

   generate and provision rules.

          A.      The Court Misapprehended How Received and Transmitted Packet Logs are
                  Correlated

          Undisputed evidence confirms that the accused products do in fact correlate data for



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   packets received with data for packets transmitted. Contra Op.56-59.

                  1.      The Evidence Showed that Ingress and Egress NetFlow Records are
                          Correlated by Stealthwatch

          It is undisputed that Cisco’s Switches and Routers are able to generate and process

   ingress and egress NetFlow records and send them to Stealthwatch for correlation. Tr. 988:12-

   992:5; PTX-572 at 762; PTX-569 at 272; PTX-1849 at 243. Dr. Cole demonstrated—using

   Cisco’s own documents—that Stealthwatch may be used to compare ingress NetFlow records

   with egress NetFlow records. Tr. 993:19-999:15. Further, an internal Cisco presentation

   described how the collected NetFlow records are analyzed and correlated to identify threats. Tr.

   994:12-995:21; PTX-1065 at .0005. Additional documentation showed that NetFlow records

   specifically were correlated, which, as construed in the Markman order, requires comparing log

   entries for received packets with log entries for transmitted packet. Dkt.202 at 17-19 (construing

   “correlate, based on the plurality of log entries,” to mean “packet correlator may compare data in

   one or more log entries with data in one or more other log entries”); see, e.g., PTX-591 at 522

   (stating that Stealthwatch will collect NetFlow and WebFlow telemetry and correlate “both

   telemetry types”); PTX-1009 at .0009 (similar); PTX-1060 at .0023 (listing Stealthwatch’s

   ability to collect and analyze 192,000 ingress and 192,000 egress entries, thus showing that both

   ingress and egress records are collected and correlated); see also Tr. 1108:6-18, 1116:14-1117:1

   (Dr. Cole confirming that ingress and egress NetFlow records are correlated).

          In light of this evidence, the Court erred in concluding that Centripetal failed to establish

   that ingress and egress NetFlow records are correlated. The evidence the Court cited in its Order

   does not refute that Cisco’s technology permits correlation of ingress and egress NetFlow

   records. Rather, it shows, at most, that using both types of data may cause a miscounting of

   packets for traffic statistics and that users have the option of choosing to ignore egress records.



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   This alleged miscounting is a red herring because the functionality to correlate NetFlow records

   still exists in the product and the traffic statistics are not relevant to Dr. Cole’s infringement

   analysis. Moreover, the user manual on which the Court relied (PTX-569) does not indicate that

   ingress and egress records cannot be correlated because the manual only states that a

   miscounting of traffic statistics may occur if both are provided. 5 PTX-569 at 282 (“For devices

   that use logical interfaces enabling both [ingress and egress] may cause the Flow Collector to

   double report traffic stats in non-interface documents. We usually ask the Customer to choose

   which data set is most important.”). This excerpt also shows that double reporting occurs only

   when ingress and egress NetFlow records are collected for a single “logical interface.” Cisco’s

   own expert testified that ingress and egress data are collected on multiple interfaces, see, e.g., Tr.

   2283:6-18, in which case the alleged double-reporting problem does not occur.




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     Cisco’s expert erroneously calls this miscounting an “error condition,” but there is no support
   that any actual error occurs that would prevent or disrupt correlation. R.63 Tr. 135:18-24. Mr.
   Llewallyn did not use this term and it does not appear in any of the documents. Rather, this was
   a term created without support by Cisco’s expert, Dr. Almeroth.


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                                                                     Thus, by default, Stealthwatch

   uses both ingress and egress during correlation.

          Mr. Llewallyn’s testimony likewise does not support the Court’s finding that ingress

   NetFlow records are not compared to egress NetFlow records because the claims do not require

   that the data be explicitly marked as ingress or egress data when processed by Stealthwatch. The

   Court concluded that there is no comparison because “even if both ingress and egress records

   were collected by Stealthwatch, that distinction is lost before any correlation could occur.”

   Op.58. However, the claims only require the correlation of received and transmitted packet data;

   they do not require the accused products maintain a separate ingress/egress “distinction” during

   comparison. Thus, Mr. Llewallyn’s testimony does not support the Court’s ruling.

                  2.      The Court Erred by Not Considering Certain Technologies that
                          Correlate

          The Court also erred by failing to consider that the accused products correlate data when

   they deduplicate data flows. PTX-569 at 271 (confirming that Stealthwatch performed

   deduplication). Cisco’s expert conceded that deduplication is a process where ingress and egress

   NetFlow records are compared to identify identical flows. R.63 Tr. 177:14-178:1 (Dr. Almeroth

   confirms that during deduplication, ingress and egress flows are compared and deduplicated).

   The comparison of NetFlow records for ingress and egress for deduplication meets the Court’s

   claim construction that they are correlated.6 The Court should amend its Order to address the

   deduplication functionality or, alternatively, hold additional proceedings (under Rule 59) in



   6
     While the claims allow for more than one “network device,” this deduplication process does not
   require more than one “network device,” but instead involves collected NetFlow records from
   more than one Switch or Router placed before and after a single network device—such as a
   server or other network component. See ’176 Patent, 2:58-61. As Mr. Llewallyn stated, these
   NetFlow records are almost always collected from multiple Switches and Routers for correlation.
   Tr. 2149:13-18.


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   which the parties may further address this functionality.

          The Court also erred in concluding that Centripetal’s sole infringement theory was based

   on NetFlow records. Op.55-56; Dkt.725 (Centripetal FoF/CoL) at ¶¶ 54 (CoL), 351-352 (FoF).

   Centripetal asserted infringement of the ’176 Patent based on different types of “log entries,”

   which, when correlated together, can be used to create rules. Tr. 998:6-999:5. Centripetal

   identified evidence that this additional data could be used with the NetFlow records for the

   correlation. Tr. 994:12-995:21; PTX-1065 at .0005 (showing web proxy data); PTX-591 at 522.

   The Court erroneously did not consider whether proxy data, in conjunction with NetFlow

   records, infringes. This is important because proxy data is also generated for packets that are

   received and transmitted, and proxy data is also compared with NetFlow records.

          Further, the evidence the Court cited does not refute the relevance of these theories.

   Op.55-56. Rather, it shows that NetFlow records by themselves infringe, and also that the

   inclusion of additional data could be used to infringe. For example, the Court relied on Dr.

   Cole’s statement that “the important thing for me are the ingress and egress NetFlow data.

   There’s nothing in the claim that’s exclusive to just those two, so there can be other data in there

   as long as those two NetFlow records are being correlated.” Tr. 1108:1-5. When this quote is

   taken in the context of the earlier questions, it shows that proxy data is also sent along with the

   NetFlow ingress and egress records, and that combination also infringes. Tr. 1107:6-14. While

   Dr. Cole noted the infringement scenario where ingress and egress NetFlow records were

   correlated, he also relied on theories involving other proxy data. Tr. 1109:7-19, 1115:2-1116:20.

   Using this proxy data is relevant to the Court’s conclusion because the data from NetFlow and

   WebFlow are for different packets, and any argument about ignoring egress packets is irrelevant

   because there is no double counting of packets. The Court’s other citations similarly discuss the




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   infringement theory for the NetFlow records, but do not address Centripetal’s other theories.

             The Court’s reliance on statements made by Centripetal’s counsel during the Rule 63

   hearing likewise do not support that Centripetal only alleged infringement based on NetFlow

   records. See Op.55-56. Reading the entire set of questions from the Court shows that the

   discussion was only about the use of NetFlow records, and Centripetal’s counsel stated, “[w]e

   may have alternative theories. We may have syslog, and we have other stuff.” R.63 Tr. 482:12-

   13. This statement establishes that data from the proxy, such as Syslog, was an alternative

   theory where proxy data augmented NetFlow records. The Court erred by failing to address this

   theory.

                    3.      The Court Improperly Compared the Specification of the ’176 Patent
                            to the Accused Products, Effectively Importing a Limitation Found
                            Only in the Specification

             The Court also erred in its analysis of the “correlate” element because the Court

   compared the accused products to the discussion of packet obfuscation in the patent specification

   rather than applying the asserted claims. Op.59. As discussed above, this is not the correct

   analysis. See supra Part II.C. The Court asserted that Cisco’s accused products do not infringe

   because they do not solve “the problem that the’176 Patent was designed to solve—packet

   obfuscation by a network device.” Op.59. However, it appears the Court was comparing the

   products to the specification rather than the claims. See ’176 Patent, Claims 11, 21.

             While the ’176 Patent does state that network devices altering the flow of a packet is a

   problem it can address, see ’176 Patent, 1:21-25, Cisco is not entitled to a non-infringement

   defense based on the embodiments described in the specification. ’176 Patent, 13:63-14:20

   (describing example embodiment), 14:21-38 (describing example embodiments). Thus, the

   portion of the specification cited by the Court does not require Centripetal to prove that the

   traffic being analyzed is obfuscated. Haddad v. United States, 164 Fed. Cl. 28, 38 (2023)


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   (limitations from embodiments are not read into the claims absent a clear indication in the

   intrinsic record that the patentee intended the claims to be so limited).

          Without notice that the Court would narrow the plain meaning of the claims by appearing

   to require packet obfuscation as one of the limitations, Centripetal lacked any opportunity to

   present evidence that the Switches and Routers along with Stealthwatch infringe even under this

   interpretation. Centripetal can establish that they, can, in fact, be used to detect obfuscated

   traffic. See Declaration of Dr. Cole (“Cole Decl.”), ¶¶ 5-9. For example, the accused products

   can perform functionality like Network Address Translation (or “NAT”), which will alter the

   packets, and can detect traffic entering and leaving other network devices that perform NAT.

   Cole Decl., ¶¶ 6-8. Cisco’s expert confirmed that performing NAT is consistent with what is

   disclosed in the ’176 Patent for altering packets. Tr. 2295:17-20. Accordingly, Centripetal

   should (at a minimum) be permitted to open the record to address this new claim construction

   provided by the Court in its Order.

          B.      The Court Erred in Concluding that the Accused Products Do Not Generate
                  and Provision Rules in Response to Correlation

          The Court erred in concluding that Stealthwatch does not “generate[], based on the

   correlating, one or more rules configured to identify packets received from the host located in the

   first network” or “provision[] a device” with those rules. Op.60.

          First, Stealthwatch generates a “rule” as the claims require when it creates a policy

   update to initiate the quarantine. Op.60. The Markman order adopted the parties’ agreed

   construction that a rule is “a condition or set of conditions that when satisfied cause a specific

   function to occur.” Dkt.202 at 9. Stealthwatch generates a policy update that meets this

   construction because it includes a condition in the IP address of the host computer that will cause

   the function of quarantining a host computer. PTX-1089 at .1238 (showing “Quarantine”



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   function is applied to packets with the condition of having IP Address 10.123.1.101). Neither

   party disputes that the policy update causes the quarantining of a suspicious host. This is shown

   in the figure below, where Stealthwatch applies the policy for quarantine to a host exhibiting

   “suspicious behavior”:




   PTX-1089 at .1238 (red annotations added). The classification that the ISE generates in response

   to the policy generated by Stealthwatch is shown as “#5” in the above image. In its Order, the

   Court suggested that the ISE-generated classification is actually the rule, but the operation of the

   ISE is irrelevant to whether Stealthwatch generates a rule. See Op.60. The policy Stealthwatch

   generates is this same rule because this policy is what is applying the “quarantine” to the host.

   Furthermore, the policy includes the actual directions on how to perform the quarantine. PTX-

   1089 at .1238 (stating that “ISE uses ANC classification . . .”).

          In pointing to the actions of a human administrator for its non-infringement findings, the

   Court again misstated the operation of the Stealthwatch. Op.60. The undisputed evidence shows

   that Stealthwatch meets all the claim elements because it automatically generates the rule in

   response to the correlating of NetFlow and then propagates the responsive rule; the user just

   needs to click a button to approve the quarantine. Tr. 1000:2-1007:19, 2187:25-2188:5 (user


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   “clicks the quarantine button in the user interface . . .”); PTX-595 at 179; PTX-1089 at .1238.

   The automatic quarantining of a host by Stealthwatch appears in the upgraded Stealthwatch 7.0,

   which added the “Change Mitigation Actions” using policy updates to initiate quarantines. Tr.

   1000:2-1007:19; PTX-595 at 179; PTX-1089 at 1238. The only human interaction required is

   the trivial task of clicking the button, and Stealthwatch performs all aspects of generating a rule

   and provisioning that rule. Furthermore, Judge Morgan’s Markman Order supports this

   understanding that an administrator (the “user” of the system) can be enabled to approve the

   quarantine policy, where the Court rejected Cisco’s argument that the “correlate” element

   excluded “user-defined filters or rules.” Dkt.202 at 19-20.

          Similarly, the Court’s conclusion that there was no evidence that the generated rules

   would block packets again contradicts the record and is not grounds for a finding of non-

   infringement. In particular, the policies are designed to quarantine the host identified due to the

   correlation—as seen above in PTX-1089, where the particular IP address (a specific host) is

   quarantined. Tr. 1002:11-18, 1005:7-15; PTX-595 at 179; PTX-1089 at .1238; Dkt.725

   (Centripetal’s FoF/CoL) at ¶¶ 375-376 (FoF) (describing sending the policy for quarantine).

   Cisco’s expert also confirmed this was the case at the Rule 63 hearing, where he stated that a

   quarantine rule could block all traffic based on the source. R.63 Tr. 154:7-11. The Court does

   not address this evidence that establishes this element is met.

                                            CONCLUSION

          For any and all of the foregoing reasons, Centripetal’s Motion should be granted.

                                                           Respectfully submitted,

    Dated: January 8, 2024                            By: /s/ Stephen E. Noona
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                                  CERTIFICATE OF SERVICE

          I hereby certify that on January 8, 2024, I electronically filed the foregoing with the Clerk

   of the Court using the CM/ECF system, which will automatically send notification of electronic

   filing to counsel of record.

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